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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 23-20896-CIV-LENARD/LOUIS



 KERI WUJCIK-PAQUETTE,

        Plaintiff,

 v.

 NCL (BAHAMAS) LTD,
 a Bermuda Company d/b/a
 NORWEGIAN CRUISE LINE,

       Defendant.
 ______________________________________/


                     STIPULATION OF DISMISSAL WITH PREJUDICE

        On May 26, 2023, the parties amicably settled this personal-injury case, so they

 hereby stipulate to the dismissal of this case with prejudice under Rule 41(a)(1)(A)(ii) of

 the Federal Rules of Civil Procedure. The parties ask the Court to retain jurisdiction to

 enforce the terms of the settlement agreement.

 Dated: May 26, 2023.


 Respectfully submitted,

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                                                  (Bahamas) Ltd.
